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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION


  MAGNOLIA ISLAND PLANTATION, L.L.C. § CIVIL ACTION NO: 5:18-cv-01526
  and BARBARA MARIE CAREY LOLLAR §
                                           §
             Plaintiffs                    §
                                           §
  VS.                                      § DISTRICT JUDGE MAURICE HICKS
                                           §
  LUCKY FAMILY, L.L.C., W.A. LUCKY, III, §
  And BOSSIER PARISH SHERIFF JULIAN §
  C. WHITTINGTON, in his official capacity §
                                           § MAGISTRATE JUDGE KAREN HAYES
             Defendants                    §

                             AMENDED AND CORRECTED
                           MOTION FOR SUMMARY JUDGMENT

         Now into Court, through undersigned counsel, comes Bossier Parish Sheriff Julian

  C. Whittington, in his official capacity (hereinafter “Defendant”), who moves for summary

  judgment upon each of Plaintiffs’ claims against Defendant as set forth more fully in the

  accompanying memorandum in support of summary judgment.

         WHEREFORE, Defendant prays that his Motion for Summary Judgment be

  granted, dismissing all Plaintiffs’ claims against Defendant, with prejudice, at their cost.

                                             Respectfully submitted by:

                                             LANGLEY, PARKS & MAXWELL, LLC

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